                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                           DOCKET NO. 3:12-cr-00188-FDW


UNITED STATES,                                 )
                                               )
vs.                                            )
                                               )                             ORDER
KENTRELL MCINTYRE,                             )
                                               )
        Defendant.                             )
                                               )

        THIS MATTER is before the Court on Defendant’s Motion for Additional Peremptory

Challenges (Doc. No. 429). The Court GRANTS IN PART AND DENIES IN PART that

motion.   The Court denies Defendant’s request to separately exercise ten (10) peremptory

challenges during the selection of the jury. Instead, the Court will allow all Defendants set for

trial on April 29, 2013, additional peremptory challenges. Defendants collectively have a total of

twelve (12) peremptory challenges among them.

        IT IS SO ORDERED.

                                             Signed: April 24, 2013




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